ATTACHMENT E
UNITED STATES DISTRICT COURT
DISTRICT OF NEW HAMPSHIRE —
Jennifer Artesi,
Plaintiff
v. 1:19-cv-00214-AJ

DeMoulas Super Markets, Inc. d/b/a
Market Basket and Dennis Labatte,

Defendants
PLAINTIFF’S FIRST SET OF INTERROGATORIES AND

REQUESTS FOR PRODUCTION OF DOCUMENTS PROPOUNDED ON
DEFENDANT DENNIS LABATTE

 

Pursuant to Rules 26, 33, and 34 of the Federal Rules of Civil Procedure, Jennifer Artesi,
Plaintiff, through undersigned counsel, propounds upon Dennis Labatte, Defendant, the
following written interrogatories and requests for production to be answered fully and under oath
within 30 days after the date of service hereof or a shorter period of time as may be ordered by
the Court.

These interrogatories and requests for production are deemed continuing. Defendant is
requested to provide, by way of supplementary answers, such additional information as they or
any other person acting on their behalf may hereafter obtain which will augment or otherwise
modify Defendant’s answers provided to the interrogatories below. Such supplementary
responses are to be served upon Plaintiff, through counsel of record, within 30 days after receipt
of such information or a shorter period of time as may be ordered by the Court.

DEFINITIONS
As used in these Interrogatories and Requests for Production, the following words and

terms shal] have the following definitions:

 

 
10. Provide the dates of every meeting or interaction you had with Plaintiff wherein
you either harassed her, yelled at her, mentioned her disability or medical condition(s), from
January 1, 2010 forward, and explain what transpired each time. If the interaction was in the
presence of others, please identify them (see instructions). Attach all documentation related
thereto.

ANSWER: Upon advice of counsel defendant objects to this request as overbroad, vague and
impermissibly requesting documents contrary to the court approved discovery plan. Without
waiving the objection, I can only answer that while I worked with the plaintiff on and off for
many years, at two different store locations, I was the store manager, not her direct supervisor
which would have been her department manager or assistant manager. As such I did not interact
with plaintiff on a daily basis the way her department manager or assistant manager did. I have no
recollection of harassing or yelling at the plaintiff, or treating her differently than any other
employee. I do not believe that I treated her in a negative or disrespectful manner. I do not recall
ever knowing about, or discussing, any medical condition or disability with the plaintiff, except
when she mentioned going out for some surgery in early 2016. I did learn in late December 2016
or early January 2017 that plaintiff was hospitalized.

11. Identify the date and substance of every complaint or concern that you are aware of
that Plaintiff raised with regard to you, including but not limited to the incidents enumerated in
Exhibit 1 hereto.

ANSWER: Upon advice of counsel defendant objects to this request as overbroad and vague
as the plaintiff or her counsel drafted the complaint in this matter. Defendant further objects to the
extent the interrogatory seeks the production of attorney work product and/or the mental
impressions/conclusions and/or trial strategy of counsel. Without waiving the objection, I do not
recall her making any specific complaint to me or about me. As stated, while I worked with the
plaintiff on and off for many years, at two different store locations, I was the store manager, not
her direct supervisor which would have been her department manager or assistant manager.

12. Please state in complete detail who decided to fire Plaintiff, and identify every
individual with any input into the decision. Completely describe all related conversations and
provide a copy of all documentation related hereto, including each and every personnel policy,
tule or law, practice or procedure you, and /or others, considered in reaching the decision to
terminate the Plaintiff.

ANSWER: _ I do not know who made the decision to terminate the plaintiff.
13. Describe in detail your complete knowledge about the retaliation alleged by

Plaintiff in her Complaint, whether by yourself or others. Provide copies of all documentation
related thereto.
2). Did you have any concerns about, or any information about the type, existence, or extent
of any disability or medical condition of Plaintiff other than from any communication with
Plaintiff or any written communication with any health care provider of Plaintiff? If so, state the
source(s) and substance of that information, identify who provided and who received the
information, and the date and approximate time the information was received. Provide a copy of
all such documentation.

ANSWER: _ [have previously answered this same question.

22. Describe in complete detail all facts of which you are aware of why Plaintiff was
out of work in December 2016 through January 2017. Describe all conversations with her, give
the date, and provide a copy of all documentation related thereto. Include a description of all
requests for documentation from Plaintiff re: her return to work.

ANSWER: Defendant objects to this interrogatory to the extent the question impermissibly
requests documents contrary to the court approved discovery plan. Without waiving the
objection, I was not aware at the time why the plaintiff was not in work or the reason she did not
or could not come to work. I only know now, through my attorneys and this litigation, what the
basis was for her missing work. I understand from my attorneys that information I obtained from
them is protected by attorney client privilege.

23. State whether any lawsuit, legal proceeding, charge (formal or informal) or
agency complaint charging you with discrimination or discriminatory retaliation, violation of NH
RSA 354-A, hostile work environment and/or aiding and abetting unlawful discrimination
practices, or any other complaint by a co-employee or subordinate, other than Plaintiff in this
case, have been filed against you at any time during your work life, through the date of your
answers to these interrogatories. If so, then for each such occurrence, state:

the name and address of the complainant/plaintiff and his/her counsel;

the date of the complaint;

the venue, address, and name of the agency and/or court where filed:

the nature and substance of the complaint with a copy of the complaint, answer
and any settlement agreement; and,

e. the disposition of the action, or the present status of the action.

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ANSWER: _ Ihave previously answered this question, none.

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Dated: O2 [OL. | , 2020 fi Ly hE

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STATE OF YE

COUNTY OF Var K

Before me, personally appeared the above-named Dennis Labatte, and made oath that the
foregoing answers are true and correct to the best of his knowledge and belief, this day of
Cape UARY , 2020,

 

My commission expires:

ALICE M. KALOYARES
NOTARY PuBLIC
State of Maine tres

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